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 1   LAW OFFICE OF TODD D. LERAS
     Todd D. Leras, CA SBN 145666
 2
     455 Capitol Mall, Suite 802
 3   Sacramento, California 95814
     (916) 504-3933
 4   toddleras@gmail.com
     Attorney for Defendant
 5
     JAFFREY BROWN
 6

 7

 8                               UNITED STATES DISTRICT COURT
 9
                                EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                         Case No.: 2:15-CR-0176 TLN
11
                   Plaintiff,
12
     vs.                                               ORDER TO CONTINUE SENTENCING
13                                                     HEARING AND MODIFY PRE-SENTENCE
14   JAFFREY BROWN,                                    REPORT DEADLINES

15                 Defendant.
16                                                     Court:      Hon. Troy L. Nunley
                                                       Date:       September 28, 2017
17                                                     Time:       9:30 a.m.
18

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22          The parties to this action, Plaintiff United States of America by and through Assistant
23
     U.S. Attorney Rosanne Rust and Attorney Todd D. Leras on behalf of Defendant Jaffrey Brown
24
     request to continue the date presently set for Judgment and Sentencing in the above-reference
25

26   matter from July 13, 2017 to September 28, 2017. Due to scheduling concerns, the probation

27   ORDER CONTINUING
     SENTENCING HEARING AND
28   MODIFYING PSR SCHEDULE
                 Case 2:15-cr-00176-TLN Document 152 Filed 04/10/17 Page 2 of 3


 1   department needs additional time to complete the draft pre-sentence investigation report. Both
 2
     parties agree to the request and are available along with the assigned probation officer to appear
 3
     on the requested date. It is therefore requested that the Court modify its previously-set pre-
 4
     sentence report disclosure schedule as follows:
 5

 6          1.    Proposed Date for Draft Pre-Sentence Report: August 17, 2017;

 7          2. Informal Objections to Draft Pre-Sentence Report: August 31, 2017;
 8
            3. Pre-Sentence Report Date: September 7, 2017;
 9
            4. Motion for Correction Date: September 14, 2017; and
10
            5. Reply Date: September 21, 2017.
11

12          This request follows a guilty plea so an exclusion of time pursuant to the Speedy Trial

13   Act is not required. Assistant U.S. Attorney Rosanne Rust has reviewed this stipulation and
14
     authorized Todd D. Leras to sign it on her behalf.
15

16
     DATED: April 7, 2017
17
                                                          By      /s/ Todd D. Leras for
18                                                                ROSANNE RUST
                                                                  Assistant United States Attorney
19
     DATED: April 7, 2017                                 By      /s/ Todd D. Leras
20
                                                                  TODD D. LERAS
21                                                                Attorney for Defendant
                                                                  JAFFREY BROWN
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27   ORDER CONTINUING
     SENTENCING HEARING AND
28   MODIFYING PSR SCHEDULE
                 Case 2:15-cr-00176-TLN Document 152 Filed 04/10/17 Page 3 of 3


 1                                                 ORDER
 2
                The Judgment and Sentencing Hearing in this matter is continued to September 28, 2017,
 3
     at 9:30 a.m. The Court adopts the Pre-Sentence Report disclosure schedule proposed by the
 4
     parties.
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 6              IT IS SO ORDERED.

 7   Dated: April 7, 2017
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                                                             Troy L. Nunley
                                                             United States District Judge
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27   ORDER CONTINUING
     SENTENCING HEARING AND
28   MODIFYING PSR SCHEDULE
